 Case 1:23-cv-01246-EK-PK             Document 17         Filed 02/13/24       Page 1 of 2 PageID #: 78
             Gonzalez Hernandez v. Sun Fish Inc. et al                              01246
                                                                          1:23 CV - ________     EK
Case Name: ________________________________________________ Case Number: ____                ( _____ ) (PK)



  PROPOSED DISCOVERY PLAN/SCHEDULING ORDER
                                                                        DONE         NOT
                                                                                  APPLICABLE     DATE

 A. ACTIONS REQUIRED BEFORE THE INITIAL CONFERENCE
     1. Rule 26(f) Conference held                                         x                   2/9/2024
     2. Rule 26(a)(1) disclosures exchanged                             N/A

     3. Requested:

            a. Medical records authorization                                           x
            b. Section 160.50 releases for arrest records                              x
            c. Identification of John Doe/Jane Doe defendants                          x
     4. Procedures for producing Electronically Stored
        Information (ESI) discussed                                                    x

     5. Confidentiality Order to be submitted for court approval                       x
         (see Standing Confidentiality Order on the Chambers website)

 B. SETTLEMENT PLAN
     1. Plaintiff to make settlement demand                                x                    12/8/2022

     2. Defendant to make settlement offer                                 x                    12/15/2023

     3. Referral to EDNY mediation program pursuant to Local                                    12/15/2023
        Rule 83.8? (If yes, enter date for mediation to be                 x
        completed)
     4. Settlement Conference (proposed date)

 C. PROPOSED DEADLINES
     1. Motion to join new parties or amend pleadings                                           3/15/2024

     2. Initial documents requests and interrogatories                                         3/15/2024

     3. All fact discovery to be completed (including disclosure of
                                                                                                6/14/2024
        medical records)

     4. Joint status report certifying close of fact discovery and                              6/24/2024
        indicating whether expert discovery is needed



                                                                                           Rev. 11-03-20
 Case 1:23-cv-01246-EK-PK             Document 17        Filed 02/13/24          Page 2 of 2 PageID #: 79

    5. Expert discovery (only if needed)                                          Check here if not applicable 

   Plaintiff expert proposed field(s) of expertise:    Not anticipated at this time, but Plaintiff reserves right to
                                                       seek expert discovery upon conclusion of fact discovery

   Defendant expert proposed field(s) of expertise:

                                                                          DONE           NOT
                                                                                      APPLICABLE        DATE
            a. Affirmative expert reports due                                                        7/24/2024
            b. Rebuttal expert reports due                                                           8/26/2024
            c. Depositions of experts to be completed                                                9/26/2024
    6. Completion of ALL DISCOVERY (if different from C.3)                                          10/14/2024
    7. Joint status report certifying close of ALL DISCOVERY                                        10/31/2024
       and indicating whether dispositive motion is anticipated

    8. If any party seeks a dispositive motion, date to                                             11/22/2024
       (a) file request for pre-motion conference (if required), or
       (b) file briefing schedule for the motion

    9. Proposed Joint Pre-Trial Order due (if no dispositive                                       12/22/2024
       motion filed)

 D. CONSENT TO MAGISTRATE JUDGE JURISDICTION
    1. All parties consent to Magistrate Judge jurisdiction for dispositive motion?                      Yes
                                                                                                        x No
                                                                                                        

    2. All parties consent to Magistrate Judge jurisdiction for trial?                                   Yes
                                                                                                        x No
                                                                                                        

 E. COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY
    1. Motion for collective action certification in FLSA cases                           x
         a. Response due
         b. Reply due
    2.   Motion for Rule 23 class certification                                          x
        a. Response due
        b. Reply due
This Scheduling Order may be altered or amended only upon a showing of good cause based on
circumstances not foreseeable as of the date of this order.

SO ORDERED:

___________________________                                  _______________________
PEGGY KUO                                                    Date
United States Magistrate Judge
                                                                                               Rev. 11-03-20
